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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                       Chapter 11

PERKINS & MARIE CALLENDER’S, LLC,            Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

PERKINS & MARIE CALLENDER’S                  Case No. 19-_____(___)
HOLDING, LLC,


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

MARIE CALLENDER PIE SHOPS, LLC,              Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

MC WHOLESALERS, LLC,                         Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

PMCI PROMOTIONS LLC,                         Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX




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In re:                                          Chapter 11

MCID, INC.,                                     Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

WILSHIRE BEVERAGE, INC.                         Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

FIV, LLC,                                       Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

P&MC’S REAL ESTATE HOLDING LLC,                 Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

P&MC’S HOLDING CORP.,                           Case No. 19-_____(___)


                      Debtor.

Fed. Tax. Id. No: XX-XXXXXXX




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                              MOTION OF DEBTORS FOR ORDER
                            AUTHORIZING JOINT ADMINISTRATION

         Perkins & Marie Callender’s, LLC (“P&MC”) and certain of its affiliates that are debtors

and debtors in possession (collectively, with P&MC, the “Debtors”) in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”) hereby file this motion (this “Motion”) for the entry

of an order (the “Proposed Order”), pursuant to Rule 1015 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), authorizing the joint administration of all the Debtors’ Chapter 11 Cases and the

consolidation thereof for procedural purposes only. In support of this Motion, the Debtors

submit and incorporate by reference herein the Declaration of Jeffrey D. Warne in Support of

Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day Declaration”).1 In further

support of this Motion, the Debtors respectfully state as follows:

                                      JURISDICTION AND VENUE

         1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This is a core proceeding within the meaning of

28 U.S.C. § 157(b)(2), and pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter a final order or judgment consistent

with Article III of the United States Constitution.




1
 Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the First
Day Declaration.


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         2.        Venue of these Chapter 11 Cases and the Motion are proper in this District

pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     FACTUAL BACKGROUND

         3.        On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions in

this Court commencing the Chapter 11 Cases for relief under the Bankruptcy Code. The Debtors

have continued in possession of their property and have continued to operate and manage their

businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.

         4.        No request has been made for the appointment of a trustee or examiner, and no

official committee has been appointed in the Chapter 11 Cases.

         5.        Additional information about the Debtors’ businesses and affairs, capital structure

and prepetition indebtedness and the events leading up to the Petition Date can be found in the

First Day Declaration, which is incorporated herein by reference.

                                        RELIEF REQUESTED

         6.        By this Motion, the Debtors seek entry of the Proposed Order, attached hereto as

Exhibit A, pursuant to Bankruptcy Rule 1015 and Local Rule 1015-1, directing the joint

administration of their Chapter 11 Cases and the consolidation thereof for procedural purposes

only.

         7.        Many, if not virtually all, of the motions, applications, hearings and orders that

will arise in these Chapter 11 Cases will jointly affect all of the Debtors. For this reason, the

Debtors respectfully submit that the interests of the Debtors, their creditors and other parties in

interest would be best served by the joint administration of these Chapter 11 Cases. In order to

optimally and economically administer the Debtors’ pending Chapter 11 Cases, such cases



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should be jointly administered, for procedural purposes only, under the case number assigned to

Debtor Perkins & Marie Callender’s, LLC.

         8.        The Debtors also request that the Clerk of this Court maintain one file and one

docket for all of the Debtors’ Chapter 11 Cases, which file and docket shall be the file and docket

for Debtor Perkins & Marie Callender’s, LLC.

         9.        The Debtors further request that the caption of these Chapter 11 Cases be

modified as follows:

                  IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE
_________________________________________
                                            )
In re:                                      )  Chapter 11
                                            )
Perkins & Marie Callender’s, LLC, et al., 1 )  Case No. 19-[●] ([●])
                                            )
                                            )  (Jointly Administered)
             Debtors.                       )
_________________________________________ )

         10.       In addition, the Debtors seek the Court’s direction that a notation substantially

similar to the following proposed docket entry be entered on the docket of each of the Debtors’

Chapter 11 Cases, other than the Chapter 11 Case of Debtor Perkins & Marie Callender’s, LLC,

to reflect the joint administration of these Chapter 11 Cases:

                   An Order has been entered in this case directing the consolidation
                   and joint administration for procedural purposes only of the
                   chapter 11 cases of Perkins & Marie Callender’s, LLC, Perkins &
                   Marie Callender’s Holding, LLC, Marie Callender Pie Shops,
                   LLC, MC Wholesalers, LLC, PMCI Promotions LLC, MCID, Inc.,
                   Wilshire Beverage, Inc., FIV, LLC, P&MC’s Real Estate Holding
                   LLC, and P&MC’s Holding Corp. The docket in the chapter 11

1
  The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Perkins &
Marie Callender’s, LLC (2435); Perkins & Marie Callender’s Holding, LLC (3381); Marie Callender Pie Shops,
LLC (1620); MC Wholesalers, LLC (2420); PMCI Promotions LLC (7308); MCID, Inc. (2015); Wilshire Beverage,
Inc. (5887); FIV, LLC (9288); P&MC’s Real Estate Holding LLC (8553); and P&MC’s Holding Corp. (2225). The
mailing address for the Debtors is 6075 Poplar Avenue, Suite 800, Memphis, Tennessee 38119-4709.


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                   case of Perkins & Marie Callender’s, LLC, Case No. 19-_____
                   (___), should be consulted for all matters affecting this case.

                                         BASIS FOR RELIEF

         11.       Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the Court may order a joint administration of

the estates.”      Fed. R. Bankr. P. 1015(b).     Local Rule 1015-1 similarly provides for joint

administration of chapter 11 cases when the facts demonstrate that joint administration “is

warranted and will ease the administrative burden for the Court and the parties.” Del. Bankr. L.

R. 1015-1. In these Chapter 11 Cases, the Debtors are “affiliates” as that term is defined in

Section 101(2) of the Bankruptcy Code.

         12.       Additionally, the First Day Declaration, filed contemporaneously herewith,

establishes that the joint administration of the Debtors’ respective estates is warranted and will

ease the administrative burden on this Court and all parties in interest in these Chapter 11 Cases.

         13.       The joint administration of these Chapter 11 Cases will also permit the Clerk of

this Court to utilize a single docket for all of the Chapter 11 Cases and to combine notices to

creditors and other parties in interest in the Debtors’ respective Chapter 11 Cases. In addition,

there will likely be numerous motions, applications, and other pleadings filed in these Chapter 11

Cases that will affect all or virtually all of the Debtors. Joint administration will permit counsel

for all parties in interest to include all of the Debtors’ Chapter 11 Cases in a single caption for the

numerous documents that are likely to be filed and served in these Chapter 11 Cases. Joint

administration of the Chapter 11 Cases will also enable parties in interest in all of the Chapter 11

Cases to stay apprised of all the various matters before this Court.

         14.       The joint administration of these Chapter 11 Cases will not prejudice or adversely

affect the rights of the Debtors’ creditors because the relief sought herein is purely procedural


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and is not intended to affect substantive rights. Joint administration will also significantly reduce

the volume of paper that otherwise would be filed with the Clerk of this Court, render the

completion of various administrative tasks less costly, and provide for greater efficiencies.

Moreover, the relief requested by this Motion will also simplify supervision of the administrative

aspects of these Chapter 11 Cases by the Office of the United States Trustee.

         15.       For these reasons, the Debtors submit that the relief requested herein is in the best

interests of the Debtors, their estates and creditors, and therefore should be granted.

                                                NOTICE

         16.       The Debtors will serve notice of this Motion upon: (i) the Office of the United

States Trustee; (ii) the Debtors’ consolidated list of creditors holding the thirty (30) largest

unsecured claims; (iii) counsel to the agent under the Debtors’ prepetition credit facility;

(iv) counsel to the lenders under the Debtors’ proposed postpetition debtor-in-possession

financing; (v) the Internal Revenue Service; (vi) the United States Attorney’s Office for the

District of Delaware; and (vii) all parties entitled to notice pursuant to Local Rule 9013-1(m). In

light of the nature of the relief requested, the Debtors submit that no other or further notice is

necessary.

                                        NO PRIOR REQUEST

         17.       No prior application for the relief requested herein has been made to this or any

other court.




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         WHEREFORE, the Debtors respectfully request that this Court enter the Proposed Order,

substantially in the form annexed hereto as Exhibit A, granting the relief requested herein and

such other and further relief as may be just and proper.

Dated: August 5, 2019
Wilmington, Delaware
                                          /s/ Megan E. Kenney
                                          RICHARDS, LAYTON & FINGER, P.A.
                                          Daniel J. DeFranceschi (No. 2732)
                                          Michael J. Merchant (No. 3854)
                                          Zachary I. Shapiro (No. 5103)
                                          Brett M. Haywood (No. 6166)
                                          Megan E. Kenney (No. 6426)
                                          Sarah E. Silveira (No. 6580)
                                          One Rodney Square
                                          920 North King Street
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 651-7700
                                          Facsimile: (302) 651-7701

                                          -and-

                                           AKIN GUMP STRAUSS HAUER & FELD LLP
                                           Scott L. Alberino (pro hac vice admission pending)
                                           Joanna Newdeck (pro hac vice admission pending)
                                           2001 K Street N.W.
                                           Washington, D.C. 20006
                                           Telephone: (202) 887-4000
                                           Facsimile: (202) 887-4288

                                           Proposed Counsel to the Debtors and Debtors in
                                           Possession




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                                       Exhibit A

                                    Proposed Order




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                       Chapter 11

PERKINS & MARIE CALLENDER’S, LLC,            Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

PERKINS & MARIE CALLENDER’S                  Case No. 19-_____(___)
HOLDING, LLC,


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

MARIE CALLENDER PIE SHOPS, LLC,              Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

MC WHOLESALERS, LLC,                         Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                       Chapter 11

PMCI PROMOTIONS LLC,                         Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX




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In re:                                          Chapter 11

MCID, INC.,                                     Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

WILSHIRE BEVERAGE, INC.                         Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

FIV, LLC,                                       Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

P&MC’S REAL ESTATE HOLDING LLC,                 Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX

In re:                                          Chapter 11

P&MC’S HOLDING CORP.,                           Case No. 19-_____(___)


                       Debtor.

Fed. Tax. Id. No: XX-XXXXXXX




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                          ORDER DIRECTING JOINT ADMINISTRATION

          Upon the motion (the “Motion”)1 of Perkins & Marie Callender’s, LLC (“P&MC”) and

certain of its affiliates that are debtors and debtors in possession (collectively, with P&MC, the

“Debtors”) in the above-captioned Chapter 11 Cases for entry of an order pursuant to

Bankruptcy Rule 1015 and Local Rule 1015-1, directing the joint administration of these Chapter

11 Cases for procedural purposes only, as more fully described in the Motion; and the Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this matter being a core proceeding pursuant to 28 U.S.C. § 157;

and venue of these cases and the Motion are proper in this District pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice of the Motion was sufficient under the circumstances, and it

appearing that no other or further notice need be provided; and this Court having held a hearing

(the “Hearing”) to consider the relief requested in the Motion; and upon the First Day

Declaration and the record of the Hearing; and the Court having found that the relief requested in

the Motion is in the best interests of the Debtors, their creditors, their estates and all other parties

in interest; and upon the record herein; and after due deliberation and sufficient cause appearing

therefor,

          IT IS HEREBY ORDERED THAT

          1.       The Motion is granted as set forth herein.

          2.       The Debtors’ Chapter 11 Cases shall be consolidated for procedural purposes only

and shall be jointly administered in accordance with the provisions of Bankruptcy Rule 1015 and

Local Rule 1015-1.


1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.


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         3.        The Clerk of the Court shall maintain one file and one docket for all of the

Debtors’ Chapter 11 Cases, which file and docket shall be the file and docket for the Chapter 11

Case of Debtor Perkins & Marie Callender’s, LLC, Case No. 19-_____ (___).

         4.        All pleadings filed in the Debtors’ Chapter 11 Cases shall bear a consolidated

caption in the following form:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

_________________________________________
                                            )
In re:                                      )                         Chapter 11
                                            )
Perkins & Marie Callender’s, LLC, et al., 1 )                         Case No. 19-[●] ([●])
                                            )
                                            )                         (Jointly Administered)
             Debtors.                       )
_________________________________________ )

         5.        All original pleadings shall be captioned as indicated in the preceding decretal

paragraph, and the Clerk of the Court shall make docket entries in each of the dockets of each of

the Chapter 11 Cases, other than the Chapter 11 Case of Debtor Perkins & Marie Callender’s,

LLC, and in the docket of any other related cases which are subsequently filed, substantially as

follows:

                   An Order has been entered in this case directing the consolidation
                   and joint administration for procedural purposes only of the
                   chapter 11 cases of Perkins & Marie Callender’s, LLC, Perkins &
                   Marie Callender’s Holding, LLC, Marie Callender Pie Shops,
                   LLC, MC Wholesalers, LLC, PMCI Promotions LLC, MCID, Inc.,
                   Wilshire Beverage, Inc., FIV, LLC, P&MC’s Real Estate Holding
                   LLC, and P&MC’s Holding Corp. The docket in the chapter 11


1
  The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Perkins &
Marie Callender’s, LLC (2435); Perkins & Marie Callender’s Holding, LLC (3381); Marie Callender Pie Shops,
LLC (1620); MC Wholesalers, LLC (2420); PMCI Promotions LLC (7308); MCID, Inc. (2015); Wilshire Beverage,
Inc. (5887); FIV, LLC (9288); P&MC’s Real Estate Holding LLC (8553); and P&MC’s Holding Corp. (2225). The
mailing address for the Debtors is 6075 Poplar Avenue, Suite 800, Memphis, Tennessee 38119-4709.


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                   case of Perkins & Marie Callender’s, LLC, Case No. 19-_____
                   (___), should be consulted for all matters affecting this case.

         6.        This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.

Date: _____, 2019
Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE




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